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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

    LUMINATI NETWORKS LTD.,                      §
                                                 §
                                                 §     CIVIL ACTION NO. 2:18-CV-00483-JRG
                 Plaintiff,                      §
                                                 §
    v.                                           §                FILED UNDER SEAL
                                                 §
    BI SCIENCE INC., BI SCIENCE (2009)           §
    LTD.,                                        §
                                                 §
                 Defendants.

                               ORDER AND FINAL JUDGMENT
         Before the Court are the following motions:

            •   Motion for Enforcement of Settlement Agreement and Arbitrator’s Award (Dkt.

                No. 185) filed by Plaintiff Luminati Networks Ltd. (“Luminati” or “Plaintiff”);

            •   Motion for Sanctions (Dkt. No. 187) filed by Luminati;

            •   Motion to Withdraw Findlay Craft P.C. As Counsel and to Stay the Case for

                Substitute Counsel to Appear (“Motion to Withdraw Findlay Craft”) (Dkt. No. 188)

                filed by Defendant BIScience Inc. 1 (“BIScience” or “Defendant”);

            •   Unopposed Motion to Withdraw Ronal Abramson and M. Michael Lewis as

                Counsel for Defendant (“Motion to Withdraw Abramson and Lewis”) (Dkt. No.

                193) filed by BIScience; and


1
 Plaintiff represents that BI Science (2009) Ltd. is also known as BI Science Inc. (See, e.g., Dkt.
No. 194 at 1.) Defendant seems to indirectly reject this contention. (See, e.g., Dkt. No. 203 at 2)
(“Defendant BIScience (2009) Ltd (which Plaintiff alleges is also known as BIScience Inc.) . . .”).
The Parties also inconsistently use spaces when referring to BiScience. (Compare, e.g., Dkt.
No. 194 (“BI Science”) and Dkt. No. 203 (“BIScience”).) The Court will adopt
Defendants’ recent notation and refer to Defendants as “BIScience,” which will include BI Science
Inc. and BI Science (2009) Ltd. collectively, unless specified otherwise.
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           •   Motion to Enforce Settlement Agreement and Arbitration Award (Dkt. No. 194)

               filed by Luminati.

(collectively, the “Motions”).

       Having considered each of the Motions, the related briefing, and the relevant authorities,

the Court concludes that the Motions should be and hereby are GRANTED-IN-PART and

DENIED-IN-PART as follows:

       •   The Court CONFIRMS the Final Arbitration Award (April 29, 2020) (“Arbitration

           Award”) (Dkt. No. 217) in its entirety pursuant to 9 U.S.C. § 9. Under the

           Arbitration Award and the Court’s April 13, 2020 ruling, the Luminati

           v. BI Science – Mediated Settlement (February 25, 2020) (Dkt. No. 170-4)

           (“Settlement Agreement”) is a valid, binding agreement between the parties;

       •   The Court hereby DENIES Luminati’s Motion for Sanctions;

       •   The Court hereby GRANTS-IN-PART the Motion to Withdraw Findlay Craft. It is

           ORDERED that Findlay Craft, P.C. be permitted to withdraw as counsel of record for

           BIScience in this matter. ECF notifications to the aforementioned counsel are to be

           terminated in the above-captioned case. In light of the ruling herein, the Court hereby

           DENIES BIScience’s request for a stay of the case;

       •   The Court hereby GRANTS the Motion to Withdraw Abramson and Lewis. It is

           ORDERED that Mr. Ronald Abramson and Mr. Mord Michael Lewis be permitted to

           withdraw as counsel of record for BIScience in this matter. ECF notifications to the

           aforementioned attorneys are to be terminated in the above-captioned case.
       Further, pursuant to 9 U.S.C. § 13, the Court hereby ENTERS FINAL JUDGMENT

pursuant to and fully incorporating herein by reference for all purposes (as if set forth herein


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    .
verbatim) all the terms of the attached Settlement Agreement (Dkt. No. 170-4) (attached hereto as

Exhibit A) and the Arbitration Award (Dkt. No. 217) (attached hereto as Exhibit B). Further, this

Court expressly retains jurisdiction to enforce the terms of this judgment between these parties,

their successors and assigns.

       All other relief not expressly granted herein is DENIED AS MOOT. The Clerk of the

Court is directed to CLOSE the case.

       So ORDERED and SIGNED this 2nd day of July, 2020.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE




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                             EXHIBIT A
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 The undersigned Parties agree that the terms of this agreement are confidential and shall not be
 disclosed except as reasonably necessary to attorneys, financial representatives, and lenders or as
 reasonably necessary to comply with governmental laws, regulations, court orders and subpoenas.
  LUMINATI NETWORKS LTD.                              BI SCIENCE (2009) LTD.
  By:                                                 By:
  Name: Or Lenchner                                   Name:
  Dated: 25-Feb-2020                                  Dated:
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                              EXHIBIT B
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                              IN THE UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION


 LUMINATI NETWORKS, LTD                            §
                                                   §
 V.                                                §        CASE NO. 2:18-CV-00483-JRG
                                                   §
 BI SCIENCE, INC.                                  §               FILED UNDER SEAL

                                    FINAL ARBITRATION AWARD

This matter was submitted to the undersigned as Arbitrator in accordance with Term 17 of the
Settlement Agreement dated February 24, 2020. The scope of the Arbitrator’s role is to “resolve
by binding arbitration disputes regarding the terms and provisions of the settlement.” After
due consideration of the briefing submitted by the parties, the Arbitrator makes the following
general findings.
      1. The 17-point agreement executed by William Cornelius as Mediator on February 24, 2020,
         which is part of the Court’s record, is confidential.

      2. Any motion to enforce this Arbitration Award shall be filed in the Eastern District of Texas,
         Marshall Division, and shall be governed by the laws of the state of Texas.

      3. An implementation schedule is essential here in order to give meaning and effect to the
         Arbitrator’s resolution of the disputed terms, and hopefully to bring finality to the
         dispute.

      4. The Arbitrator finds that Luminati’s request for attorney’s fees falls outside the scope of
         his role as set forth in Term 17, and therefore declines to rule on the merits of such
         request.
                                          DISPUTED TERMS
As for the following terms in dispute the Arbitrator has recited the term language followed by his
ruling as to the interpretation and implementation of such language.
 Term 5
   “BI Science leaves the Proxy Services business world-wide permanently.”




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  Arbitrator’s ruling
  BI Science shall take all necessary steps, including but not limited to those set forth in the
  implementation schedule below, to completely exit the Proxy Services business on a
  permanent and world-wide basis, not later than 28 days after issuance of the Arbitration
  Award.
  Term 6
         “BI Science enters a stipulated injunction that BI Science will not use, offer to sell, or sell,
  Proxy Services in the United States or import Proxy Services into the United States to the extent
  it is not licensed to do so.”
  Arbitrator’s ruling
  Activities prohibited under such injunction shall include any use by BI Science of proxy services
  for its own internal non-commercial use.
  Term 7
        “BI Science may continue providing its Urban VPN application to the extent it does not
  practice Luminati’s patents.”
  Arbitrator’s ruling
  BI Science shall disable any features of the Urban VPN application that cause it to infringe
  Luminati’s patents and disclose to Luminati the alterations used to disable such features not
  later than 7 days after BI Science completes its exit from the Proxy Services business.
  Term 8
       “Luminati makes monthly payments to BI Science of 37% of the gross (invoiced) revenue
  generated by any BI Science customer of Proxy Services transferred by BI Science and accepted
  by Luminati to Luminati’s Proxy Services as part of this agreement for a period of up to 27
  months (Luminati shall not arbitrarily reject BI Science proxy service customers transferred
  under the settlement agreement. Any rejection shall be supported by legitimate and reasonable
  grounds including the existing Luminati compliance procedures. Any disputed rejection shall be
  submitted to arbitration by William Cornelius.)”
  Arbitrator’s ruling

  •     BI Science shall identify its Proxy Services customers to Luminati not later than 5 days
        after issuance of the Arbitration Award;
  •     BI Science shall refer (transfer) such Proxy Services customers to Luminati not later than
        8 days after issuance of the Arbitration Award;
  •     Luminati shall notify BI Science within 3 days of referral of any customer rejection;



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  •  Luminati shall provide to BI Science its supporting grounds for any rejection with a
     reasonable degree of detail including, if applicable, which of its compliance procedures
     forms a basis for the rejection;
  • BI Science may dispute the rejection not later than 3 days after being notified of the
     rejection;
  • For any disputed rejection submitted to the arbitrator for resolution:
     o        If the rejection is upheld, BI Science shall pay the fees incurred by the arbitrator;
     o        If the rejection is reversed, Luminati shall pay the fees incurred by the arbitrator;
  • Term 8 shall not apply to any pre-existing or current Luminati Proxy Services customer
     even if also a BI Science Proxy Services customer; nor to any customer referred or
     recommended to Luminati by BI Science after its exit from the Proxy Services business;
  • The monthly payments called for in Term 8 are to commence within 30 days after the initial
     generation of gross revenue by any transferred and accepted BI Science Proxy Services
     customers, and shall continue for each of the following 27 months in which such gross
     revenue continues to be generated;
   • Once accepted, Luminati shall not arbitrarily terminate any transferred BI Science Proxy
     Services customer;

   Term 9
        “Luminati will set up an escrow account of $350,000 from which payments are to be made
   to BI Science.”
      Arbitrator’s ruling

      •   Luminati shall identify a proposed escrow vendor not later than 7 days after issuance of
          the Arbitration Award;
      •   Not later than 7 days thereafter BI Science shall provide its account information;
      •   Luminati shall transfer the funds not later than 30 days after BI Science exits the Proxy
          Services business;
      •   After initial funding of the escrow account Luminati shall maintain sufficient funds in the
          account to cover monthly payments required under Term 8;
      •   After making the last required monthly payment to BI Science under Term 8, any funds
          remaining in the escrow account shall be returned to Luminati.
      Term 12
         “BI Science assigns the ‘244 Patent and related patent applications, continuations, and
      continuations in part to Luminati.”




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    Arbitrator’s ruling
    BI Science shall identify to Luminati all patent applications, continuations and continuations
    in part related to the ‘244 patent not later than 7 days after issuance of the Arbitration Award.
    The parties shall execute an appropriate assignment of such patent and related materials not
    later than 30 days after issuance of the Arbitration Award.
    Term 14
        “The parties agree to a 3-year litigation stand down, during which neither party shall
    institute legal action of any kind against the other except as may be necessary to enforce any
    settlement reached as a result of the proposal.”
    Arbitrators’ ruling
    The 3-year litigation stand down shall run from April 13, 2020.


                                       UNDISPUTED TERMS
 Other than certain timing issues which are dealt with in the following Implementation Schedule,
 there are no disputes known to the Arbitrator regarding Terms 1, 2, 3, 4, 9, 10, 11, 13, 15, 16, and
 17 of the Settlement Agreement.




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                                  IMPLEMENTATION SCHEDULE


                           Task                                  Deadline             Applicable
                                                                                       Term(s)
   1.    Parties file motions for joint termination of IPRs Done as directed      4
         and to file settlement agreement under seal          by Arbitrator on
                                                              April 24th
   2.    Parties file joint motions to dismiss BI Science II 3 days after         3
         and BI Science III                                   issuance       of
                                                              Arbitration
                                                              Award
   3.    BI Science identifies its Proxy Services customers 5 days after          8
         to Luminati                                          issuance       of
                                                              Arbitration
                                                              Award
   4.    Parties file the joint stipulation, joint motions to 7 days after        1, 2, and 6
         dismiss and joint motion for entry of final issuance                of
         judgment for claim 108 in BI Science I               Arbitration
                                                              Award
   5.    Luminati proposes escrow vendor                      7 days after        9
                                                              issuance       of
                                                              Arbitration
                                                              Award
   6.    BI Science provides its account information for 7 days after             9
         payment from escrow account                          identification of
                                                              escrow vendor
   7.    BI Science identifies the patent applications, 7 days after              12
         continuations, and continuations in part related issuance           of
         to ‘244 patent                                       Arbitration
                                                              Award
   8.    BI Science shall refer (transfer) its Proxy Services 8 days after        8
         customers to Luminati.                               issuance       of
                                                              Arbitration
                                                              Award
   9.    Luminati notifies BI Science of any referred 3 days after                8
         customer it rejects                                  referral       of
                                                              customer
   10.   BI Science may dispute rejection of any referred 3 days after being      8
         customer                                             notified       of
                                                              rejection
   11.   BI Science ceases and shuts down all Proxy 28 days after                 5
         Services business, including but not limited to issuance            of
         (a) shutting down BI Science webpages offering Arbitration
         the Proxy Services, (b) withdrawing BI Science Award

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         Geosurf application from web stores, including
         the Chrome store, and (c) notifying BI Science
         active customers of the shutdown of its Proxy
         Services business and referring/transferring
         such customers to Luminati’s referral system
         and landing page
   12.   Parties execute assignment of ‘244 patent and 30 days after          12
         related patent applications, continuations and issuance         of
         continuations in part                           Arbitration
                                                         Award
   13.   BI Science shall disable any features of the 7 days after BI         7
         Urban VPN application that cause it to infringe Science exit from
         Luminati’s patents and disclose to Luminati the Proxy     Services
         steps taken to disable such features            business
   14.   Luminati transfers $350,000 to escrow account 30 days after BI       9
                                                         Science exit from
                                                         Proxy     Services
                                                         business




 William Cornelius
 William Cornelius
 Arbitrator
 April 29, 2020




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